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                                                                  TheNewYorkTimes
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       VIA EMAIL                          ELECTRONICALLY FILED
Hon. Kimba M. Wood                         DOC#:-----,---
United States District Judge               DATE FILED:----"~~-
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:       In re Search Warrant for Michael Cohen (_ \ .::S 'i"\ ~:,\Ca \ )

Dear Judge Wood:

I write on behalf of The New York Times Company ("The Times") regarding the potential
closing of judicial proceedings or sealing of judicial documents in relation to the application for
and execution of a search warrant on Michael Cohen. The Associated Press and Newsday also
join this letter.

We write to emphasize the significant public interest in access to these proceedings and to the
judicial documents at issue, including Mr. Cohen's motion for a temporary restraining order. We
respectfully request that the documents be filed publicly and that the public be permitted access
to today's proceedings; or that we be permitted to be heard prior to any closure. Due to the short
notice of this hearing, counsel is not able to be present at this time. However, if Your Honor
prefers, we are prepared to move by a formal motion to intervene and counsel may be available
to appear later this afternoon or on Monday.

The Times' Right To Intervene

There is a qualified First Amendment and common law right held by the public to access judicial
documents and proceedings. See, e.g., Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,
572 (1980) (First Amendment right to proceedings); Lugosch v. Pyramid Co. 435 F.3d 110, 119-
20 (2d Cir. 2006) (constitutional and common law right to judicial documents). The Second
Circuit has recognized a motion to intervene as the procedurally proper device for purposes of
protecting the right of access. See, e.g., United States v. King, 140 F.3d 76, 77 (2d Cir. 1998);
United States v. Haller, 837 F.2d 84, 85 (2d Cir. 1988).

The Right of Access to Judicial Documents and Proceedings
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        The First Amendment creates a right of public access to criminal trials, including pre-trial
        proceedings like the one taking place here today. See, e.g., Richmond Newspapers v. Virginia,
        448 U.S. 555,571, 65 L. Ed. 2d 973, 100 S. Ct. 2814 (1980); Press-Enterprise Co. v. Superior
        Ct. II ( 1986). The parties seeking closme must establish that (i) public access would threaten a
        compelling interest, (ii) no alternative short of closure could protect that interest; (iii) the
        limitation sought is as narrow as possible; and (iv) the restriction will actually be effective in
        protecting the threatened interest. We do not believe those standards can be satisfied here.
        Further, a court may not order closure without first giving the public adequate notice that a
        closure may occur and then allowing interests persons an opportunity to object to the request.

        The press and the public also enjoy a common law right of access to judicial documents. Nixon
        v. Warner Commc'ns, 435 U.S. 589, 597-98 (1978). This common law right is a qualified one,
        and involves a three-step analysis in which the court determines: ( 1) whether a document is a
        "judicial document"; (2) if it is, how strong the presumption of access is; and (3) whether - ~
        countervailing concerns overcome the presumption and justify continued sealing. U n i ~c.t,V¥(       c..<ec
        v. Erie Cnty., 763 F.3d 235, 239 (2d Cir. 2014). The common law right of accesniere. ::,ee                ~
        Application of Newsday, Inc., 895 F.2d 74, 75 (2d Cir. 1990) (finding that the lower court had
        properly balanced the common law right of access to judicial records with the defendant's
        privacy rights, and affirming its release of a copy of a search warrant application.)

        We respectfully objec~ parties attempt to close these proceedirr&f as we do not believe the
        First Amendment right of access to court proceedings can be overcome. We also respectfully
        request that the documents in these proceedings be unsealed. Alternatively, we request that the
        court hold a hearing on this matter and give us an opportunity to retain a lawyer to appear on our
        behalf prior to any closure.


                                                              Respectfully submitted,

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